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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Janet Godinez
                               Plaintiff,
v.                                                 Case No.: 1:16−cv−07344
                                                   Honorable Rebecca R. Pallmeyer
City Of Chicago, et al.
                               Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 22, 2019:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Motion hearing held.
Plaintiff's motion to bar Defendants' experts and for sanctions [309] is taken under
advisement. Defendants' response shall be filed by 8/2/19. Plaintiff';s reply shall be filed
by 8/30/19. Pretrial conference set for 9/17/19 at 2:00 p.m. Plaintiff's motion for leave to
file oversized brief [311] is granted. Notice mailed by judge's staff (ntf, )




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